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                 IN THE UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF ARKANSAS
                         LITTLE ROCK DIVISION


DAVID A. STEBBINS                                                      PLAINTIFF

v.                           CASE NO. 4:16CV545 JM

STATE OF ARKANSAS, ARKANSAS                                          DEFENDANTS
REHABILITATION SERVICES, AND
AMY JONES


     DEFENDANTS’ RESPONSE TO PLAINTIFF’S STATEMENT OF FACTS

       COME NOW Defendants State of Arkansas, Arkansas Rehabilitation

Services, and Amy Jones, by and through their attorneys, Attorney General Leslie

Rutledge and Senior Assistant Attorney General Christine A. Cryer, and for their

Response to Plaintiff’s Statement of Facts, states as follows:

       UNDISPUTED FACT NO. 1 – I have several disabilities, including but

not limited to Aspergers and Depression.

       RESPONSE TO FACT NO. 1: Defendants admit that on December 1, 2015,

Plaintiff produced 13 pages of medical records which documented Plaintiff reporting

he had been diagnosed with Asperger’s and depression.

       UNDISPUTED FACT NO. 2 – I have filed several ADA discrimination

lawsuits in the past, which the Defendants were aware of.

       RESPONSE TO FACT NO. 2:              Admitted.    Plaintiff first reported this

information to Defendant Amy Jones during their December 8, 2015 telephone

conversation.
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      UNDISPUTED FACT NO. 3 – I applied for ARS funding to attend

college at Arkansas Tech University on December 1, 2015.

      RESPONSE TO FACT NO. 3: Defendants admit Plaintiff reported during

his initial interview on December 1, 2015 that he was requesting assistance with

attending Arkansas Tech in Russellville.

      UNDISPUTED FACT NO. 4 – On December 15, 2015, licensed

psychological examiner Leslie Johnson issued a recommendation that I be

determined ineligible for ARS assistance, in part because of my statutorily

protected activities, and in part because I have symptoms that she believes

could, in some vague, unspecified ways, interfere with my vocational

rehabilitation.

      RESPONSE TO FACT NO. 4:                   Denied.    According to Ms. Johnson’s

Conclusions and Recommendations, Plaintiff’s history indicated a history of

physical aggression and threatening statements, which she found to suggest that he

was not currently appropriate for vocational rehabilitation services. Ms. Johnson

did not recommend Plaintiff be denied ARS services due to his litigation history.

      UNDISPUTED FACT NO. 5 – While forming the recommendations

spoken of in Undisputed Fact No. 4, Dr. Leslie Johnson never examined me

personally.

      RESPONSE TO FACT NO. 5:                  Admitted.   Ms. Johnson had Plaintiff’s

recent records to review and felt she was able to make her recommendations

without meeting with the Plaintiff in person. Ms. Johnson’s physical well-being was



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an issue, and based upon the Plaintiff’s exhibited instability in the two weeks prior,

as well as his documented behavior, there was believed to be some genuine concern

about her safety.

      UNDISPUTED FACT NO. 6 – While forming the recommendation

spoken of in Undisputed Fact No. 4, Dr. Leslie Johnson never considered

whether any reasonable accommodations would allow me to overcome any

real or perceived deficiencies.

      RESPONSE TO FACT NO. 6: Denied. Ms. Johnson determined that it was

reasonable to recommend a referral to a local mental healthcare provider, as the

Plaintiff needed to be able to establish a period of stable functioning prior to

training.

      UNDISPUTED FACT NO. 7 – On December 17, 2015, Amy Jones

rejected my application for ARS services (although they do not call it a

“denial,” they say I was “found to be ineligible,” but that is just semantics.

The bottom line is … I did not get the funding and assistance I asked far),

in part because of my symptoms.

      RESPONSE TO FACT NO. 7: Admitted that on December 16, 2015, Ms.

Jones wrote to Plaintiff and stated the following: “The diagnostic study has been

completed, and based on the information I have and to the best of my knowledge

and judgment, it does not appear that you are eligible for vocational rehabilitation

services.” ARS 122




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      Plaintiff was determined ineligible for ARS services. This determination was

based on Amy Jones’ assessment of Plaintiff’s inappropriate and hostile interactions

with the staff, his medical and psychological reports and refusal for treatment. All

of those factors lead Ms. Jones to believe that Plaintiff would not benefit in terms of

an employment outcome from the provisions of VR services.

      UNDISPUTED FACT NO. 8 – The Defendants are only just now

attempting to create another excuse for the denial of funding, by stating

that my interactions with them were inappropriate and hostile.

      RESPONSE TO FACT NO. 8: Denied. See the Client Contact Notes, Police

Reports, Documents provided by Plaintiff in December 2015, and Ms. Johnson’s

Conclusions and Recommendations which all support the finding of Plaintiff’s

ineligibility as of December 2015.

      UNDISPUTED FACT NO. 9 – There is a 99.99999999% chance that the

complaints about the inappropriate behavior were only created recently

as a pretextual excuse, and were not originally factors in the denial of

funding.

      RESPONSE TO FACT NO. 9: Denied. See the Client Contact Notes, Police

Reports, Documents provided by Plaintiff in December 2015, and Ms. Johnson’s

Conclusions and Recommendations which all support the finding of Plaintiff’s

ineligibility as of December 2015.

      UNDISPUTED FACT NO. 10 – The average annual salary in the

United States for a person with a bachelor’s degree in the field of



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computer and information technology for the year 2016 – the most recent

year for which statistics are available – is $89,685.71 per year, or $1,724.73

per week.

       RESPONSE TO FACT NO. 10:                  Defendants are without information to

accurately admit or deny this fact, and therefore deny. Defendants further deny

this is a material fact.

       UNDISPUTED FACT NO. 11 – I have earned good grades in college,

particularly in the field of mathematics.

       RESPONSE TO FACT NO. 11: Defendants are unable to admit or deny

this Fact as they are not comfortable attempting to quantify the phrase “good

grades.” Defendants, however, admit that on December 11, 2015, Plaintiff produced

a document which purports to be a transcript from North Arkansas College.

Defendants admit that, according to the document, Plaintiff attended North

Arkansas College from the fall of 2008 until the summer of 2010. During that time,

Plaintiff enrolled in 19 classes. He withdrew from 9 of them. In the classes he did

attend, he earned 4-A’s, 3-B’s, and 3-C’s.

       On September 19, 2017, Defendants propounded discovery to Plaintiff, which

included a release for school records in order to verify the authenticity of the

document produced by Plaintiff and to request any additional records which might

be available. Plaintiff’s time to respond has not yet expired.

       UNDISPUTED FACT NO. 12 – Computer science will require nearly

half of my courses to be mathematics.



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       RESPONSE TO FACT NO. 12:                  Defendants are without information to

accurately admit or deny this fact, and therefore deny. Defendants further deny

this is a material fact.

       UNDISPUTED FACT NO. 13 – Success in school is directly indicative

of the success in the workforce.

       RESPONSE TO FACT NO. 13: Denied. Success in the workforce is not

directly indicative of success in school. It would not typically be a direct indication

This might be a good indicator for a young adult/high school student without

extenuating circumstances, limitations or barriers. Most often the work history is a

better indication of someone’s success of failure in the workforce.

       UNDISPUTED FACT NO. 14 – I am automatically qualified for ARS

funding if I receive Supplemental Security Income (SSI).

       RESPONSE TO FACT NO. 14:                   Denied.   Individuals who receive SSI

benefits are “presumed” eligible; however, an assessment still has to be performed

to fully determine eligibility and feasibility for services.

                                          Respectfully submitted,

                                          LESLIE RUTLEDGE
                                          Attorney General

                                   By:    /s/Christine A. Cryer
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                         CERTIFICATE OF SERVICE

      I, Christine A. Cryer, hereby certify that on 12th day of October, 2017, I
mailed this document by U.S. Postal Service to the following:

David A. Stebbins
123 West Ridge Street, Apt. D
Harrison, AR 72601



                                             /s/Christine A. Cryer
                                             Christine A. Cryer




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